Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 1 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 2 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 3 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 4 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 5 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 6 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 7 of 8
Case 18-05872-jw   Doc 11   Filed 11/26/18 Entered 11/26/18 11:54:13   Desc Main
                            Document      Page 8 of 8
